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          EXHIBIT A
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robert.salvin@outlook.com                          Counsel for Plaintiff




KEITH R. FENWICK,                                  COURT OF COMMON PLEAS,
                                                   DELAWARE COUNTY,
            Plaintiff,                             PENNSYLVANIA

            v.,

DELAWARE TITLE LOANS, INC.,

            Defendant.



                                       Complaint

             Keith R. Fenwick files this complaint against Delaware Title Loans for usury

in violation of the Loan Interest and Protection Law (“Act 6”), 41 P.S. §§ 201 et seq. and

several other claims. The defendant operates a loan sharking scam, and victimized Mr.

Fenwick with a loan at 155.32% A.P.R. secure by his car in Pennsylvania. Mr. Fenwick

avers:

                                         Parties

             1.    The plaintiff is Keith R. Fenwick (“Mr. Fenwick”), a citizen of the

Commonwealth of Pennsylvania residing at 7332 Radbourne Rd., Upper Darby, PA

19082.




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               2.   Delaware Title Loans, Inc. (“DTL”) is a corporate entity believed to be

chartered in the state of Delaware with an office at 155 Naamans Road, Claymont, DE

19703.

                                        Background

               3.   DTL runs a sophisticated loan sharking operation in which it makes

small loans at triple digit interest rates to consumer borrowers secured by their cars.

These loans are used to exploit borrowers with poor credit and a crushing need for cash.

Exhibit P-1.

               4.   DTL is engaged in asset based lending in Pennsylvania. In the past,

DTL has admited to collecting over $3.8 million in usurious interest from Pennsylvanians

borrowers. Exhibit P-2.

               5.   For each loan DTL makes to a customer in Pennsylvania, DTL acquires

a property interest in collateral located in the Commonwealth and records a lien on the

collateral with the Pennsylvania Department of Transportation.

               6.   At any given time, DTL is believed to have security interests in

hundreds of thousands of dollars of automotive collateral located in Pennsylvania.

               7.   DTL has collection agents under contract within Pennsylvania. Exhibit

P-3. Through its agents, DTL maintains a constant, regular, and systematic physical

presence within the territorial boundaries of Pennsylvania.

               8.   DTL maintains an interactive website from which citizens of

Pennsylvania may apply for and receive loans from their homes in Pennsylvania. Exhibit P-

4.



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                9.    DTL accepts payments on-line and over the phone from borrowers in

Pennsylvania.

                10.   Pennsylvania's usury statute is unwaivable, but DTL insists that

Pennsylvania borrowers waive the law's protection by signing loan agreements containing a

Delaware choice-of-law clause. 41 P.S. § 408 (“Notwithstanding any other law [which

includes Delaware law], the provisions of . . . [Pennsylvania's usury statute] may not

be waived by any oral or written agreement executed by any person.”).

               11.    According to the Pennsylvania Department of Banking and Securities,

out-of-state auto title lenders are doing business within the Commonwealth and subject to

Act 6 as long as they take any action in the Commonwealth, such as taking collateral,

accepting online payments, or accepting online loan applications. Consent Order ¶¶ 4-16,

Commonwealth of Pennsylvania v. Carbucks of Delaware, Inc., No. 18-0066 (Pa. Dept.

Banking and Securities 2018) (attached as Exhibit P-5).

                                                Facts

                12.   On or about May 13, 2006, Mr. Fenwick borrowed $896 from DTL at a

high triple digit rate of interest. Exhibit P-6 at 1-3.

                13.   Over the next several months, Mr. Fenwick paid $1,327.00 on the loan,

but due to the high rate of interest just about all of the funds were applied to interest.

Exhibit P-6 at 3.

                14.   On or about September 5, 2020, Mr. Fenwick was short on funds due to

the Covid-19 pandemic, and he again resorted to getting a loan from Delaware Title Loans.




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              15.   Before Delaware Title Loans would give him a new loan it required him

to pay $200 on his 2006 loan. Exhibit P-6 at 3.

              16.   DTL then allowed Mr. Fenwick to take out a new loan. The new loan

was $816.00 at 155.32% A.P.R. Payments were due every two weeks for two years, for a total

$2,688.73. The finance charge was $1,872.73. Exhibit P-6 at 5.

              17.   DTL paid $81 of the loan proceeds to the Pennsylvania Department of

Transportation to record a lien on the title. Exhibit P-6 at 5.

              18.   DTL also paid $85 of the proceeds for a membership in something

called the Liberty Motor Club. Exhibit P-6 at 5.

              19.   DTL purchase the Liberty Motor Club membership for Mr. Fenwick

without asking his permission and without telling him.

              20.   DTL was apparently able to retain part of the Liberty Motor Club

membership fee as a kickback. Exhibit P-6 at 5 (text following asterisk at the bottom of the

itemization of the amount financed).

              21.   Mr. Fenwick received $650 of loan funds in hand.

              22.   DTL closed the transaction electronically at a counter with a computer.

              23.   A DTL employee stood behind a counter and prepared the loan

agreement on a computer. The computer faced the employee and not Mr. Fenwick.

              24.   At no time was Mr. Fenwick able to view the computer screen or

operate the computer.




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              25.   Several months after the transaction was completed, in January, 2021,

Mr. Fenwick, through counsel, requested a copy of the contract, and he received the

document attached as Exhibit P-6.

              26.   This was the first time Mr. Fenwick saw the document DTL claims to

be the loan agreement, including the Truth in Lending disclosure on page one of the

agreement. Exhibit P-6 at 5. Mr. Fenwick denies seeing the agreement when he took out

the loan, either as an image on a computer screen or as a paper document.

              27.   Instead of bearing Mr. Fenwick's hand written signature, the signature

line on the contract has a typed statement "E-SIGNED by KEITH FENWICK." Exhibit P-6

at 9.

              28.   Mr. Fenwick denies taking any action on the computer while he was at

DTL that would cause his electronic signature to appear on the document. The DTL

employee did not allow Mr. Fenwick to operate the computer.

              29.   Over the next several months, Mr. Fenwick paid a total of $483.57 to

DTL (Exhibit P-6 at 4), but due to the high rate of interest DTL applied just about all of Mr.

Fenwick's payments to interest, just about all of which was illegal under Pennsylvania law.

              30.   By January 2021, despite paying $481.57, the principal balance on Mr.

Fenwick's loan had gone down only $30.82 to $785.18 (Exhibit P-6 at 4), and DTL claimed

that Mr. Fenwick owed an additional $60.48 in interest, so his total balance was $845.66,

even more than at the beginning of the loan. Exhibit P-6 at 4. In other words, Mr.

Fenwick's loan balance went up $29.66 even though he paid $483.57.

              31.   Mr. Fenwick refused to pay more to DTL.



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                32.   According to the contract, DTL purports to have taken a security

interest in Mr. Fenwick's 2008 Lincoln MKX, and recorded a lien with the Pennsylvania

Department of Transportation.

                33.   The vehicle is titled and registered in Pennsylvania, and Mr. Fenwick

keeps the vehicle at his home in Pennsylvania.

                34.   The interest on the loan continues to grow, and DTL is maintaining a

lien on Mr. Fenwick's vehicle to coerce payment of usurious interest.

                                            Count I

                35.   This count is for usury under Act 6, 41 P.S. §§ 201, 408 & 501-504, and

seeks declaratory relief and damages. All of the preceding paragraphs are incorporated by

reference.

                36.   Under section 408 of Act 6, Mr. Fenwick's right to be free from usury

cannot be waived.

                37.   Under section 201, DTL may not charge Mr. Fenwick interest greater

than 6% per annum.

                38.   Under Section 501, Mr. Fenwick is not liable to pay usurious interest.

                39.   Under Section 504, Mr. Fenwick is entitled to relief for all damages

sustained as a result of being party to a usurious loan.

                40.   Under Section 502, Mr. Fenwick is entitled to a mandatory award of

three times the excess interest he paid. Grigsby v. Thorp Consumer Discount Co., 127

B.R. 759, 764 (E.D. Pa. 1991).




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              41.     DTL applied $450.75 of Mr. Fenwick's payments to interest, just about

all of which was illegal, Mr. Fenwick is entitled to an award of three times the funds applied

to illegal interest, albeit with a set off for any balance legitimately due on the loan.

              WHEREFORE, Mr. Fenwick seeks the following relief:

              (a).   A declaration that the loan (i) is governed by Pennsylvania law, (ii)

accrues interest at the rate of 6% per annum, (iii) that Mr. Fenwick is entitled to the return

of his title free and clear after repaying the balance due on the loan at 6% annual interest;

              (b). An award of actual and treble damages, including three times the amount

of any funds applied to usurious interest, and compensation for the value of the vehicle

should it be repossessed;

              (d). An award of attorney's fees and costs; and

              (e). Any other relief that is just and appropriate.

                                             Count II

              42.      This count is against DTL for engaging in unfair and deceptive acts

and practices in violation of the Unfair Trade Practices and Consumer Protection Law, 73

P.S. § § 201-3. All of the preceding paragraphs are incorporated by reference.

              43.    The Unfair Trade Practices and Consumer Protection Law (“UTPCPL”)

renders it unlawful for any person engaged in a trade or business to commit unfair and

deceptive acts and practices. 73 P.S. § 201-3.

              44.    The defendant is a person engaging in a trade or business within the

meaning of the UTPCPL.

              45.    DTL engaged in unfair and deceptive acts, including, but not limited to:



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                      (a).    Misrepresenting to Mr. Fenwick in violation of 73 P.S. § 201-2(4)

(ii), (v), (vii) & (xxi), that it could charge him interest at the rate of 155.32% A.P.R. even

though the rate is illegal under Pennsylvania law;

                      (b).    Misrepresenting to Mr. Fenwick in violation of 73 P.S. § 201-2(4)

(ii), (v), (vii) & (xxi), that he owed monthly payments far in excess of his actual liability at

the legal rate of interest,

                      (c).    Misrepresenting to Mr. Fenwick that he owed money he did not

actually owe; and

                      (d).    Misrepresenting to Mr. Fenwick that he was bound to a contract

he did not sign.

               46.   The various misrepresentations referenced above include verbal and

written statements of the loan balance, applicable interest rate, and monthly payment

amount uttered to Mr. Fenwick at every step of the transaction, before, during, and after

execution of the loan documents.

               47.   DTL's actions and representations were fraudulent or deceptive and

created a likelihood of confusion over the nature and amount of Mr. Fenwick' liability.

               48.   Specifically, DTL deceived Mr. Fenwick into believing that his payment

and debt were much higher than they actually were.

              WHEREFORE, Mr. Fenwick requests relief jointly and severally as follows:

                      (a).    An award under 73 P.S. § 201-9.2 of up to three times the amount

of all actual damages suffered by Mr. Fenwick, including compensation for the loss of his

vehicle should it be repossessed;



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                      (b).   Award Mr. Fenwick reasonable attorney’s fees and costs; and

                      (c).   Any other relief that is just and appropriate.

                                             Count III

                49.   This count is against DTL for violation of the Truth-In-Lending Act, 15

U.S.C. §§ 1601 et seq. All of the preceding paragraphs are incorporated by reference.

                50.   DTL failed to show Mr. Fenwick the material Truth-In-Lending

disclosures prior to inserting his signature on the contract. Mr. Fenwick never saw the

annual percentage rate, finance charge, amount financed, total payments, total sale price, or

the itemization of the amount financed until he requested a copy of the loan contract in

January 2021.

                51.   Without allowing Mr. Fenwick to view the computer monitor or giving

him control over the computer to review the contract himself, Mr. Fenwick had no

meaningful opportunity to view the Truth In Lending Disclosures when he was taking out

the loan.

                52.   Even if Mr. Fenwick had seen the disclosures, they were inaccurate.

                53.   DTL disclosed an unlawful usurious rate of interest that did not

accurately reflect Mr. Fenwick's legal obligation in violation of 12 C.F.R. §1026.17(c).

                54.   DTL did not accurately calculate the finance charge.

                55.   DTL involuntarily included purchase of Liberty Motor Club contract in

the sale as an incident to the extension of credit.




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                 56.   The cost of the Liberty Motor Club should have been included in the

finance charge, rather than the amount financed, since DTL included the charges

involuntarily.

                 57.   Even if Mr. Fenwick had seen the Truth In Lending Disclosures on the

computer screen, the disclosures would still be invalid because Mr. Fenwick did not

consent to receive electronic Truth in Lending disclosures in accordance with 12 C.F.R. §

1026.17(a)(1) and 15 U.S.C. § 7001(c).

             WHEREFORE, Mr. Fenwick requests judgment against the defendants,

jointly and severally, for actual and statutory damages along with attorney’s fees and costs

and any other relief that is just and appropriate.



                                         Respectfully submitted,

                                         ____________________
                                         ROBERT F. SALVIN, Esq.,
                                         Counsel for Plaintiff.




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                                          Verification

               I, Keith R. Fenwick, declare under penalty of perjury that the facts recited in

the foregoing document that was prepared by my lawyer are true and correct to the best

of my knowledge, information and belief. I understand that false statements herein are

subject to penalties under of 18 Pa.C.S. § 4904, relating to unsworn falsification to

authorities.




                                  ____________________________




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Rise in Loans Linked to Cars Is Hurting Poor
By Jessica Silver-Greenberg and Michael Corkery    December 25, 2014 12:13 pm



      Related Links
         Miss a Payment? Good Luck Moving That Car (Sept. 24, 2014)
         In a Subprime Bubble for Used Cars, Borrowers Pay Sky-High Rates (July 19, 2014)

            The rusting 1994 Oldsmobile sitting in a driveway just outside St. Louis was an unlikely cash machine.

            That was until the car’s owner, a 30-year-old hospital lab technician, saw a television commercial describing how
      to get cash from just such a car, in the form of a short-term loan.

            The lab technician, Caroline O’Connor, who needed about $1,000 to cover her rent and electricity bills, believed
      she had found a financial lifeline.

            “It was a relief,” she said. “I did not have to beg everyone for the money.”

            Her loan carried an annual interest rate of 171 percent. More than two years and $992.78 in debt later, her car
      was repossessed.

            “These companies put people in a hole that they can’t get out of,” Ms. O’Connor said.

            The automobile is at the center of the biggest boom in subprime lending since the mortgage crisis. The market
      for loans to buy used cars is growing rapidly.

            And similar to how a red-hot mortgage market once coaxed millions of borrowers into recklessly tapping the
      equity in their homes, the new boom is also leading people to take out risky lines of credit known as title loans.

            They are, roughly speaking, the home equity loans of subprime auto. In these loans, which can last as long as two
      years or as little as a month, borrowers turn over the title of their cars in exchange for cash — typically a percentage of
      the cars’ estimated resale values.

            “Turn your car title into holiday cash,” TitleMax, a large title lender, declared in a recent television commercial,
      showing a Christmas stocking overflowing with money.

            More than 1.1 million households in the United States used auto title loans in 2013, according to a survey by the
      Federal Deposit Insurance Corporation — the first time the agency has included the loans in its annual survey.

            Title loans are an increasingly prevalent form of high-cost, short-term credit in subprime finance, as regulators
      in a number of states crack down on payday loans.

            For many borrowers, title loans, also sometimes known as motor-vehicle equity lines of credit or title pawns, are
      having ruinous financial consequences, causing owners to lose their vehicles and plunging them further into debt.

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     A review by The New York Times of more than three dozen loan agreements found that after factoring in various
fees, the effective interest rates ranged from nearly 80 percent to over 500 percent. While some loans come with
terms of 30 days, many borrowers, unable to pay the full loan and interest payments, say that they are forced to
renew the loans at the end of each month, incurring a new round of fees.

     Customers of TitleMax, for example, typically renewed their loans eight times, a former president of the
company disclosed in a 2009 deposition.

     And because many lenders make the loan based on an assessment of a used car’s resale value, not on a
borrower’s ability to repay that money, many people find that they are struggling to keep up almost as soon as they
drive off with the cash.

     As a result, roughly one in every six title-loan borrowers will have the car repossessed, according to an analysis of
561 title loans by the Center for Responsible Lending, a nonprofit in Durham, N.C.

     The lenders argue that they are providing a source of credit for people who cannot obtain less-expensive loans
from banks. The high interest rates, the lenders say, are necessary to offset the risk that borrowers will stop paying
their bills.

     Title loans are part of a broader lending boom tied to used cars. Auto loans allowing subprime borrowers — those
with credit scores at 640 or below — to buy cars have surged in the last five years.

     The high interest rates on the loans have enticed an influx of Wall Street money. Private equity firms are
investing in lenders, and some big banks are ramping up their auto lending to people with blemished credit.

     Propelling this lending spree are the cars themselves, and their centrality in people’s lives.

     In most parts of the country, a car is vital to participating in the work force, and lenders are betting that people
will do virtually anything to keep their cars, choosing to make auto loan payments before paying for just about any
other expense.

     The title lending industry, perhaps more than any other facet of subprime auto lending, thrives because of the
car’s importance.

     While people seeking title loans are often at their most desperate — dealing with a job loss, a divorce or a family
illness — the lenders are willing to extend them loans because they know that most borrowers will pay their bill to
keep their cars. Some lenders do not even bother to assess a borrower’s credit history.

     “The threat of repossession turns the borrower into an annuity for the lenders,” said Diane Standaert, the
director of state policy at the Center for Responsible Lending.

     Unable to raise the thousands of dollars he needed to repair his car, Ken Chicosky, a 39-year-old Army veteran,
felt desperate. He received a $4,000 loan from Cash America, a lender with a storefront in his Austin, Tex.,
neighborhood.

     The loan, which came with an annual interest rate of 98.3 percent, helped him fix up the 2008 Audi that he
relied on for work, but it has sunk his credit score. Mr. Chicosky, who is also attending college, uses some of his
financial aid money to pay his title-loan bill.


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     Mr. Chicosky said he knew the loan was a bad decision when he received the first bill. It detailed how he would
have to pay a total of $9,346 — a sum made up of principal, interest and other fees.

     “When you are in a situation like that, you don’t ask very many questions,” he said.

     Cash America declined to comment.

Rapid Expansion
     Clutching handfuls of cash, a former Miss America contestant zips around in a red sports car, dancing and
rapping about how TitleMax has “your real money.”

     Commercials like these help companies like TitleMax entice borrowers to take on the costly loans. TitleMax, a
brand of TMX Finance, is privately held — like virtually all of the title loan companies — and does not disclose much
financial information. But a regulatory filing for the first three months of 2013 offers a glimpse into the industry’s
tremendous growth.

     During that period, the profits at TMX Finance rose by 47 percent from the same period two years earlier, and
the number of stores it operated nearly doubled, to 1,108. The total volume of loans originated during the first three
months of last year reached $169 million, up 67 percent from the same period in 2011.

     TMX Finance, based in Savannah, Ga., wants to expand further, opening stores in states where regulations are
“favorable,” according to a 2013 regulatory filing. Only a few years after emerging from bankruptcy in 2009, the
company is enjoying an influx of cash from mainstream investors. Big bond funds managed by Legg Mason and
Putnam Investments have bought portions of TMX Finance’s debt. The company also borrowed $17.5 million to buy a
private jet.

     The title lenders are seizing upon a broad retrenchment among banks, which have become wary of making loans
to borrowers on the fringe of the financial system. Regulations passed after the financial crisis have made it much
more expensive for banks to make loans to all but the safest borrowers.

     The title lenders are also benefiting as state authorities restrict payday loans, effectively pushing payday lenders
out of many states. While title loans share many of the same features — in some cases carrying rates that eclipse those
on payday loans — they have so far escaped a similar crackdown.

     In 21 states, car title lending is expressly permitted, with title lenders charging interest of up to 300 percent a
year. In most other states, lenders can make loans with cars as collateral, but at lower interest rates.

     Seeing the regulatory landscape shift, some of the country’s largest payday lenders are switching gears. When
Arizona effectively outlawed payday loans, ACE Cash Express registered its payday loan storefronts in the state as car
title lenders, state records show.

     Lenders made similar changes in Virginia, where lawmakers outlawed payday lending in 2010. But title lenders
were untouched by that law and have expanded throughout the state, drawing business from Maryland.

     The number of stores offering title loans in Virginia increased by 24 percent from 2012 to 2013, according to
state records. Last year, the lenders made 177,775 loans, up roughly 612 percent from 2010, when the state banned
payday lending.

     In Tennessee, the number of title lending stores increased by about 22 percent from 2011 to 2013, reaching 1,017.

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    That is a small fraction of the industry’s overall size, state regulators say, because only a handful of states keep
statistics. Legal aid offices in Arizona, California, Georgia, Missouri, Texas and Virginia report that they have
experienced an influx of clients who have run into trouble with the loans.

    “The demand is there for people who are desperate for money,” said Jay Speer, the executive director of the
Virginia Poverty Law Center.

Loopholes and Adversity
    When Tiffany Capone suggested that her fiancé, Michael, take out a $10,000 TitleMax loan with a 119 percent
interest rate, she figured it would be a temporary fix to pay the bills. But this summer, after Michael fell behind on the
loan payments, the couple’s three-year-old Hyundai was repossessed.

    “It had my child’s car seat in the back,” said Ms. Capone, of Olney, Md.

    With their car gone, the couple had to sell most of their furniture and other belongings to a pawnshop so they
could afford to pay for taxis to ferry Michael, a diabetic with a heart condition, to his frequent doctors’ appointments.

    The hardships caused by title loans are being cited as one of the big challenges facing poor and minority
communities.

    “It is a form of indenture,” said Robert Swearingen, a lawyer with Legal Services of Eastern Missouri, adding that
“because of the threat of repossession, they can string you along for the rest of your life.”

    Johanna Pimentel said she and both of her brothers had taken out multiple title loans.

    “They are everywhere, like liquor stores,” she said.

    Ms. Pimentel, 32, had moved her family out of Ferguson, Mo., to a higher-priced suburb of St. Louis that
promised better schools. But after a divorce, her former husband moved out, and she had trouble paying her rent.

    Ms. Pimentel took out a $3,461 title loan using her 2002 Suburban as collateral.

    After falling behind, she woke up one morning last March to find that the car had been repossessed. Without it,
she could not continue to run her day care business.

    Pointing to such experiences, lawmakers in some states — regulating the industry largely falls to states — have
called for stricter limits on title loans or outright bans.

    In Virginia, lawmakers passed a bill in 2010 that institutes some restrictions on the practice, including
preventing lenders from trying to collect money from customers once a car has been repossessed. That same year,
Montana voters overwhelmingly backed a ballot initiative that capped rates on title loans at 36 percent.

    But for every state where there has been a crackdown, there are more where the industry has mobilized to beat
back regulations.

    In Wisconsin, it took the title loan industry only one year to reverse a ban on the loans that had been put in place
in 2010. In New Hampshire in 2008, state legislators enacted a law that put a 36 percent ceiling on the rates that title
lenders could charge. Four years later, though, lobbyists for the industry won a repeal of the law.

    “This is nothing but government-authorized loan sharking,” said Scott A. Surovell, a Virginia lawmaker who has
proposed bills that would further rein in title lenders.
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            Even when there are restrictions, some lenders find creative ways to continue business as usual. In California,
      where the interest rates and fees that lenders can charge on loans for $2,500 or less are restricted, some lenders
      extend loans for just over that amount.

            Sometimes the workarounds are more blatant.

            The City of Austin allows title lenders to extend loans only for three months. But that did not stop Mr. Chicosky,
      the veteran who borrowed $4,000 for car repairs, from getting a loan for 24 months.

            Last year, after applying for a loan at a Cash America store in Austin, Mr. Chicosky said, a store employee told
      him that he would have to fill out the paperwork and pick up his check in a nearby town. Mr. Chicosky’s lawyer, Amy
      Clark Kleinpeter, said the location switch appeared to be a way to get around the rules in Austin.

            The lender offered a different explanation to Mr. Chicosky. “They told me that they didn’t have a printer at the
      Austin location that was big enough to print my check,” he said.

      More Articles in This Series:
      In a Subprime Bubble for Used Cars, Borrowers Pay Sky-High Rates
      By JESSICA SILVER-GREENBERG and MICHAEL CORKERY

      Millions of Americans are receiving auto loans they cannot possibly afford, in a lending climate marked by some of the
      same lack of caution seen in the housing industry before its 2008 implosion.

      Miss a Payment? Good Luck Moving That Car
      By MICHAEL CORKERY and JESSICA SILVER-GREENBERG

      Subprime lenders are increasingly relying on technology that allows them to track and disable delinquent borrowers’
      vehicles with just a tap of a cellphone app.

              A version of this article appears in print on 12/26/2014, on page A1 of the NewYork edition with the headline: Surge in Loans
              Linked to Cars Is Hurting Poor.




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                  Exhibit P-2
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04/1512009 15:32 7755875798                                                                     PAGE    02/56



                      CONTRACT FOR REPOSSESSION SERVICES

     This CONTRACT FOR REPOSSESSION SERVICES (hereinafter "Contract") is dated this

     – 15th— day of_April, 2009 and is by and between                Delaware Title Loans, Inc. and

     it's subsidiaries,' suc(Msorsi aiiiaies or assignees (hereinafter "Company") and International

     Recovery Systems, Inc. (hereinder "Vendor").

     WHEREAS Company is in the bus.ness of making loans to consumers secured by the
     consumer's motor vehicle:

    •WHEREAS Company will utilize tie services of Vendor to perform repossession and sale
    services on an independent contract or basis; and

    WHEREAS the parties have also entered into an Independent Contractor, Indemnification and
    Hold Harmless Agreement describirg their relationship and nothing in this Contract shall alter or
    effect this other Agreement; and

    WHEREAS the parties now wish tc memorialize their understanding with regard to fees and
    charges;

    NOW THEREFORE, in consideration of the mutual promises contained herein, Company using
    Vendor's services, and the services rendered. by Vendor, it is hereby agreed as follows:

    1) Payment. It is understood between the parties that Company will pay Vendor according to
       the following schedule:

           a) Repossession Fee: $ I              - per vehicle. This fee shall be paid to Vendor
              for each vehicle that Company requests Vendor to repossess and Vendor successfully
              delivers to Company. Repossession fees include delivery to desigrrsted auction.

                                         b
           b) Run-in Fee: $ 4,6 M616 per customer. This feeshall be paid to Vendor for each
              customer that 'Vendor, causes, through an uncompleted repossession, to pay to
              Company the amount due the same or next day. Vendor should only halt a
              repossession attempt bebre completion if there is a breach of the peace, or with
              Company's prior consent.

           e) Storage Fees: $ifebficiii per day, per vehicle, provided that the first        days of
               storage shall be free of caarge. This fee is the only storage fee to which vendor is
               entitled and Vendor hereby waives any statutory right to storage fees above this
               amount, even if the amoant entered herein is zero dollars ($0.00).

           d) Worthless vehicle discovery: $ i'b1*5b This will be paid if Vendor discovers
              the vehicle in such poor condition that Vendor believes the vehicle does not merit the
              cost of the repossession. In such event Vendor shall provide Company with a picture
              and condition report jusl iing this determination.


    Row. 4/1/OG




                                                                   IRS-PHL 0001



                              Exhibit P-3
      Case 2:21-cv-04170-BMS Document 1-1 Filed 09/22/21 Page 23 of 37
04115/2003     1G:32     775875796                                                               PAGE 83/06




                e) Voluntary Repossessior .s: $                -. A voluntary repossession is where the
                   Lender's customer drops off the vehicle at Lender's address and Lender requests
                   Vendor to tow vehicle t) auction.

                f) If Vendor does not obtain possession of any vehicle assigned to them within thirty
                   (30) days, Company ha; the right to demand that Vendor cease its efforts and
                   Company may assign the repossession of said vehicle to another vendor. In such
                   event, Company will not be obligated to pay Vendor for its efforts.

                g) Any other fees need prior written approval.

                ii) Special Terms:




      It is hereby agreed between the par;irithat the above fees are the only fees .Comany is obligated
      to pay Vendor. It is also agreed th.t invoices for services provided must be submitted in a timely
      manner (within 60 days of completion of services). Invoices not submitted/received in a timely
      manner may be subject to nonpayuent.

      2) Modification. No agreement, whether written or oral, entered into between the parties prior
         to or after the signing of this Contract, including but not limited to any work order toxins
         used by Vendor, shall alter the eons of this Contract unless this Contract is specifically
         referred to by name and date. I urther, Vendor acknowledges that the only person authorized
         to alter this Contract on behalf of Company is a corporate officer of Company. No ofilce
         manager or area manager of Company shall have any authority to alter the terms of this
         Contract.

      3) Wajver ofRight to Lien! RelerfVehicles upon Demand. Vendor hereby acknowledges
         that Company may have obliga ions under the law to quickly sell vehicles held by Vendor.
         As such, if there is any dispute :egarding payment of the above fees, Vendor hereby agrees
         that Vendor's sole remedy shall be to pursue its contractual rights against Company and not
         to retain possession of any vehble. Vendor hereby waives any and all rights under
         applicable statutes or otherwise to assert any lien on any vehicle held by it on behalf of
         Company. Vendor agrees to re.ease any vehicle held by it to Company upon demand.
         Vendor further agrees to immediately return to Company all Company lóai documents and
         keys relating to all vehicles upcndemand. Vendor hereby agrees that should it wrongfully
         withhold any vehicle loan doct iments or vehicle keys from Company after demand has been
         made therefore, that Vendor shall be liable to Company for liquidated damages of
         per vehicle.

     4) No Right to Set-off. The par-tics agree that if the Vendor sells a vehicle on behalf of
        Company, vendor may not deduct from the proceeds of such sale its repossession, storage of
        sale fees without the prior coitsunt of Company.

      5) Subcontractors. Vendor hereby allces not to use a subcontractor to repossess, store or sell a
         vehicle without first obtaining the prior consent of.Company. If such consent is granted,
                                                       2
      Re'y,. 4/19/06



                                                                     IRS-PHL 0002




                                     Exhibit P-3
    Case 2:21-cv-04170-BMS Document 1-1 Filed 09/22/21 Page 24 of 37
04/15/2009 1:32 7705875798                                                                      PAGE @4/06


        Vendor hereby agrees that it shall be solely responsible for the actions of such subcontractor,
        and hereby agrees to indemnify Company against any action brought against Company
        relating to the actions of the sui 5contractor, or a demand for payment from such
        subcontractor.

     6) Storage and Return of Personal              Vendor shall be solely responsible for the care and
        storage of all personal property located in repossessed vehicles. Vendor shall further be
        solely responsible for returning such personal property to its rightful owner pursuant to law.
        Vendor agrees to indemnify Company against any claims for lost, stolen or damaged
        personal property.

     7) Term. This Agreement shall remain in force and effect until thirty (30) days after notice of
        termination in writing from eitk.er party and all vehicles and loan documents have been
        returned to Company.                                                        -


                                                     _
     THE ABOVE AGREED TOTHIS j5th_DAY OF _April_, 2009.


     COMPANY                                                           tetnationa1Rc   ystems, Inc.
                                                                              ES 0 CO ANY

                                                         :
                                                                  —(s ture)AJ
     By: Phil Schappert
     Authorized Agent for Lender                                               t name)
                                                          Its:   J.
                                                                      ,     (title)




    Rev: 4/19/06




                                                                 IRS-PHL 0003



                                Exhibit P-3
Case 2:21-cv-04170-BMS Document 1-1 Filed 09/22/21 Page 25 of 37




                  Exhibit P-4                                      001
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                  Exhibit P-4                                      002
Case 2:21-cv-04170-BMS Document 1-1 Filed 09/22/21 Page 27 of 37




                  Exhibit P-4                                      003
Case 2:21-cv-04170-BMS Document 1-1 Filed 09/22/21 Page 28 of 37




                  Exhibit P-4                                      004
                   Case 2:21-cv-04170-BMS Document 1-1 Filed 09/22/21 Page 29 of 37
Ballard Spalg

1735 Market Street, 5m Floor                                                                          Jenny Perkins
                                                                                                      Jenny Perkins
Philadelphia, PA 19103-7599                                                                           Tel: 215.864.8378
                                                                                                      Tel: 215.864.8378
TEL 215.665.8500                                                                                      Fax: 215.864.8999
                                                                                                      Fax: 215.864.8999
FAX 215.864.8999                                                                                      perkinsj@ballardspahr.com
                                                                                                      perkinsj @ballardspahr.com
wwwballardspahnoom




          February 2,
          February 2, 2021
                      2021

          Via E-mail (robert.salvin@outlook.com)
          Via E—mail (r0bert.salvin@0utlook. com)

          Mr. Robert
          Mr.  Robert F.
                       F. Salvin,
                          Salvin, Esquire
                                  Esquire
          Philadelphia Debt
          Philadelphia  Debt Clinic
                              Clinic
          Two Bala
          Two Bala Plaza,
                   Plaza, Suite
                          Suite 300
                                300
          Bala Cynwyd,
          Bala Cynwyd, PA
                       PA 19004-1573
                          19004-1573

          Re:
          Re:        Keith Fenwick
                     Keith Fenwick

          Dear Mr.
          Dear Mr. Salvin:
                   Salvin:

          II write
             write in
                   in response
                      response to
                               to your
                                  your January
                                       January 25,
                                               25, 2021
                                                   2021 correspondence
                                                        correspondence regarding
                                                                       regarding Keith
                                                                                 Keith Fenwick.
                                                                                       Fenwick. This response
                                                                                                This response
          is made
          is        in accordance
              made in  accordance with
                                   with Delaware
                                        Delaware law.
                                                 law.

          On September
          On September 5,
                       5, 2020,
                          2020, Mr.
                                Mr. Fenwick
                                    Fenwick traveled
                                            traveled to
                                                     to Delaware
                                                        Delaware where
                                                                 where he obtained aa loan
                                                                       he obtained    loan in the amount
                                                                                           in the amount of
                                                                                                         of
          Eight Hundred
          Eight  Hundred and
                          and Sixteen  Dollars ($816.00)
                              Sixteen Dollars            from Delaware
                                               ($816.00) from Delaware Title
                                                                       Title Loans, Inc. (“Delaware
                                                                             Loans, Inc.  (“Delaware Title”).
                                                                                                       Title”).
          Mr. Fenwick
          Mr.   Fenwick pledged  his 2008
                        pledged his       Lincoln MKX
                                     2008 Lincoln         VIN ## 2LMDU88C88BJ24174
                                                    MKX VIN      2LMDU88C88BJ24174 as    as collateral
                                                                                            collateral for this
                                                                                                       for this
          loan. Mr.
          loan.  Mr. Fenwick
                     Fenwick defaulted
                             defaulted on this loan.
                                       on this loan.

          Upon receipt
          Upon          of your
                receipt of  your letter,
                                 letter, Delaware
                                         Delaware Title
                                                   Title ceased
                                                         ceased all
                                                                all collection activity. A
                                                                    collection activity. A copy
                                                                                           copy of
                                                                                                 of Mr.
                                                                                                    Mr. Fenwick’s
                                                                                                         Fenwick’s
          September 5,
          September  5, 2020
                        2020 Loan    Agreement, Promissory
                               Loan Agreement,    Promissory Note
                                                              Note and
                                                                    and Security
                                                                        Security Agreement,  along with
                                                                                 Agreement, along   with aa certiﬁed
                                                                                                            certified
          accounting of this loan is enclosed herein.
          accounting of this loan is enclosed herein.

          In
          In 2006, Mr. Fenwick
             2006, Mr. Fenwick traveled
                               traveled to
                                        to Delaware where he
                                           Delaware where    obtained aa loan
                                                          he obtained    loan from
                                                                              from Delaware
                                                                                   Delaware Title. The
                                                                                            Title. The
          Contract Number
          Contract  Number for  for this
                                    this 2006
                                          2006 loan
                                                loan is
                                                      is TL-DE0266-060426-2553-00.
                                                         TL-DE0266-060426-2553-00.         This 2006 loan
                                                                                           This 2006  loan was   ultimately
                                                                                                            was ultimately
          paid off
          paid off via
                    via aa settlement
                           settlement extended
                                         extended to
                                                   to Mr.  Fenwick on
                                                       Mr. Fenwick   on September
                                                                         September 5,   2020. Given
                                                                                     5, 2020.   Given the  age of
                                                                                                       the age  of this
                                                                                                                   this loan
                                                                                                                         loan
          and Delaware
          and  Delaware Title’s
                            Title’s document
                                     document retention     policy, Delaware
                                                 retention policy,  Delaware Title
                                                                                Title no  longer has
                                                                                      no longer  has aa copy
                                                                                                         copy of
                                                                                                               of the
                                                                                                                  the Loan
                                                                                                                        Loan
          Agreement, Promissory
          Agreement,    Promissory NoteNote and
                                             and Security   Agreement corresponding
                                                  Security Agreement     corresponding toto Mr.  Fenwick’s 2006
                                                                                            Mr. Fenwick’s    2006 loan.
                                                                                                                   loan. A  A
          copy of
          copy of aa certified
                     certiﬁed accounting
                                accounting ofof this 2006 loan
                                                this 2006       is enclosed
                                                           loan is enclosed herein.
                                                                             herein.

          Please feel
          Please feel free
                      free to contact me
                           to contact me if you have
                                         if you      any questions.
                                                have any questions.

          Very truly
          Very truly yours,
                     yours,



          Jenny Perkins

          Enclosures
          Enclosures




          DMEAST #43540324
          DMEAST #43540324 v1
                           v1


                                                Exhibit "P-6"                                                                      001
             Case 2:21-cv-04170-BMS Document 1-1 Filed 09/22/21 Page 30 of 37




Delaware Title Loans, Inc.                                                  l 15 Naamans Road
                                                                            Claymont, DE 19703
                                                                            Telephone (302) 793«0877
                                                                            Facsimile (302) 793-0910




Re:     Accounting for Keith Rendell Fenwick


Keith Rendell Fenwick, Customer

TL-DE0266-200905-2809—00, Account

Accounting as of February 2, 2021

Balance
Principal               Interest               Fees
$785.18                 $60.48                 $0.00

Payment Histogy

        See attached.



TL-DE0266-060426-2553-00,          Account

Accounting as of February 2, 2021

Balance
Principal               Interest               Fees
$0.00                   $0.00                  $0.00

Payment History

        See attached.




                                               Delaware Title Loans, Inc.




                                             Exhibit "P-6"                                             002
elms: Payment history      Case 2:21-cv-04170-BMS Documenthttp:l/elmscacorp.00m/CommonNiewAllPaymentI-Iistory.do?skipNav...
                                                           1-1 Filed 09/22/21 Page 31 of 37


                                                                                                                                       5" Print
         r

             Loan info

             KEITH FENWICK. Customer
             TL-DE0266-060426-2553-00, Account

             Payment history

                                                        Funds Days Principal Balance Principal       Interest      Fees   Principal Balance
                Date             Transaction
                                                       amount late (before) (before) (applied)      (applied)    (applied) (after)   (after)
             05/13/2006 Payment received                150.00        895.00   1,020.05    (24.95)    (125.05)       0.00   870.05     870.05

             05/26/2006 Payment recelved (extended)     150.00        870.05    963.01     (57.04)     (92.96)       0.00   813.01     813.01
             06/24/2006 Payment received (extended)     201.00        813.01   1,006.80     (7.22) (193.78)          0.00   805.79     805.79
             07/28/2006 Payment received (extended)     212.00        805.79   1,030.97     (0.00) (212.00)          0.00   805.79     818.96
             08/25/2006 Payment received (extended)     205.00        805.79   1.004.40     (6.39) (198.51)          0.00   799.40     799.40
             09/25/2006 Payment received (extended)     205.00        799.40   1,003.08     (1.32) (203.68)          0.00   798.08     798.08
             11/03/2006 Payment received (extended)     204.00        798.08   1,053.90     (0.00) (204.00)          0.00   798.08     849.90
             09/05/2020 Payment received (extended)     200.00 5032   798.08 34,008.48      (0.00) (200.00)          0.00   798.08 33,808.48
             09l05/2020 Payoff received (settlement)      0.00 5002   798.08 33,808.48    (798.08) (33,010.40)       0.00      0.00      0.00
             Total                                     1,527.00                           (895.00) (34,440.48)       0.00


               close




lofl                                                        Exhibit "P-6"                                                                  003
                                                                                                                                      2/2/2021,11:13 AM
elms: Payment history     Case 2:21-cv-04170-BMS Documenthttp://clmsZ.clacorp.com/Commcn/ViewAllPaymentHistory.do?
                                                          1-1 Filed 09/22/21 Page 32 of 37                        skipNav...



                                                                                                                               “‘1 Print
        1*                                                                                                                               '1

             Loan info

             KEITH FENWICK, Customer
             TL-DE0266-200905—2809-00, Account


             Payment history

                                                       Funds Days Principai Balance Principal Interest    Fees    Principal Balance
                Date            Transaction           amount late (before) (before) (applied) (applied) (applied) (after)    (éfter)
             09/25/2020 Payment received (extended)     72.26   0     816.00   885.75     (2.51)    (69.75)   0.00   813.49    813.49
             10/09/2020 Payment received (extended)     52.00   0     813.49   862.17     (3.33)    (48.67)   0.00   810.16    810.16
             10/23/2020 Payment received (extended)     51.33   0     810.16   858.64     (2.86)    (48.47)   0.00   807.30    807.30
             11/06/2020 Payment received (extended)     51.33   0     807.30   855.61     (3.03)    (48.30)   0.00   804.27    804.27
             11/20/2020 Payment received (extended)     51.33   0     804.27   852.39     (3.21)    (48.12)   0.00   801.06    801.06
             12/04/2020 Payment received (extended)     51.33   0     801.06   848.99     (3.40)    (47.93)   0.00   797.66    797.66
             12/18/2020 Payment received (extended)     51.33   0     797.66   845.39     (3.61)    (47.72)   0.00   794.05    794.05
             01/01/2021 Payment recelved (extended)     51.33   0     794.05   841.56     (3.82)    (47.51)   0.00   790.23    790.23
             01/15/2021 Payment received (extended)     51.33   0     790.23   837.51     (4.05)    (47.28)   0.00   786.18    786.18
             Total                                     483.57                            (29.82)   (453.75)   0.00


               close
         I                                                                                                                           I




lofl
                                                           Exhibit "P-6"                                                           004
                                                                                                                              2/2/2021, 11:14 AM
                             Case 2:21-cv-04170-BMS Document 1-1 Filed 09/22/21 Page 33 of 37

                            LOAN AGREEMENT, PROMISSORY NOTE AND SECURITY AGREEMENT

 Lender? Delaware Title Loans, Inc.                                      Today’s Date: 09/05/2020 10:18 AM                  Contract#zTL-DEOZﬁS-ZOUQOS-Zgog-OU

 Address: 1 1 5 NAAMANS ROAD                                              Estimated Funding Date: 09/05/2020                                Collateral Information

             CLAYMONT, DE 19703                                                                                                     Motor Vehicle:
                                                                                                                                        Make; LINCOLN
             (302) 793-0877                                               Maturity Date: 091’09/2022                                    Model: MKX
                                                                                                                                        Year: 2008
 Borrower information:                                                  Co-Borrower:
 Name:       KEITH RENDELL FENWICK                                      Name: None                                                      Vin#: 2LMDU88C88BJ24174
 Address: 7 3 32 RADBOURNB RD                                           Address: N] A                                                   License: KYN823 6
             UPPER DARBY, PA 19082                                                                                              D    Unsecured


             (267) 343-9744 DOB-1969                                                N/A
 Disclosures Made in Compliance with Federal Truth in Lending                                                                        “emizaﬁm' 0’ Amw'“ ﬁnance":
                                                                             .                                                                                 Amount iven to
    ANNUAL                           FINANCE                         Amount Financed               Total of Payments                  $ 650.00                 you direcgtiy
    PERCENTAGE                       CHARGE                          The amount of credit          The amount you will
    RATE                                                             provided to you or on         have paid after you                                         Amount paid on
    The cost o f your credit         The dollar amount the           your behalf.                  :gbzlitsiiiaefiil payments         3 0‘00                   YWT prior account

    as a yearly rate,                credit Will COS: you.                                                                            Amount paid to others on your behalf

                   155 3 2 ?         $ 1 8 7 2 73                    $ 8 1 6 00                    $ 2 6 8 8 73                                                Amountpaidforlien
                       '     n             =   '             (c)            '                         ’     '              (e)                                 fees to the Dept. of
                                                                                                                                      $ 81.00                  Motor Vehicles
 Security:

                 You are giving a security interest in the motor vehicle described in the Collateral Information box.                 5 85-00                  to Liberty Motor
                                                                                                                                                                  Club“
                 This loan is unsecured.                                                                                                                      (optional)

 Prepayment: if you pay off early, you will not have to pay a penalty and will not be entitled to a refund.                           $ 0'00                   to NA

 Late Charge: Any required payment not paid in full within ten (10) days of the due date will be assessed a
 delinquency charge not to exceed ﬁve percent (5%) of the unpaid amount of the payment.
                                                                                                                                      $ 816.00                  Amount Financed
 See below for any additional information about nonpayment, default, any required repayment in ﬁlli before the
 scheduled date, and prepayment reﬁlnds and penalties.                                                                                                         (Total)

  Your Payment Schedule (e) will be:
  Number of Payments             Amount of Payments      When Payments Are Due                                                        * To the extent permitted by applicable law, we
             1                    $72.26                                                          0911250020                          may retain or receive a portion of this amount.



          50                       $51-33               Every 14 days, beginning                  10/99/2020
             1                    $49.97                                                          09/09/2022
  (e) means estimated.


This Loan Agreement, Promissory Note and Security Agreement (“Agreement”) is executed by and between BORROWER and LENDER on the date set forth
above. As used in this Agreement, the terms “we,” “us” and “our” mean the LENDER listed above. Similarly, as used in this Agreement, the terms “you” and
“your” mean the BORROWER (including any Co-Borrower) listed above.
I . Promise to Pay. Borrower and Co-Borrower, jointly and severally, (collectively hereinafter referred to as “BORROW/ER”) promise to pay to LENDER,
in immediately available United States currency, the “Principal” amount of the loan (the Amount Financed), together with interest and other fees and charges
as provided in this Agreement. All sums due hereunder shall be paid without prior demand, notice or claim o f set off. BORROWER, without penalty, has the
right to fully prepay the Amount Financed at any time prior to maturity and wili not be obligated to pay any unaccrued interest.
2. Eimates in Truth in Lending Act Disclosures. We had to estimate the Finance Charge, Total of Payments and Payment Schedule in the Truth in
Lending Act Disclosure because we do not know exactly when the proceeds of the Loan will be credited to your bank account (“Funding Date”). We
based our estimate on your Loan proceeds being disbursed on the Estimated Funding Date shown above. Delays caused by our bank or your bank,
bank holidays, or your failure to return any calls we make to you to verify your information and other circumstances beyond our control may result
in the Funding Date occurring after the (late we estimate.
3. Collateral. If the Motor Vehicle box is checked under the Collateral Information box, this paragraph applies to this Agreement. To secure the
BORROWER’S obligations under this Agreement, BORROWER hereby grants to LENDER a security interest in the Motor Vehicle described above
(“Vehicle”), all accessories and accessions to the Vehicle, and all proceeds related thereto, including all insurance proceeds or refunds of insurance premiums
related to the Vehicle (all such property referred to as “Coilateral”). BORROWER agrees to provide a valid unencumbered certiﬁcate of title to the Vehicie and
to pay any amounts paid by LENDER to the Department o f Motor Vehicles associated with the recording o f LENDER’S security interest, as itemized above,


                                                                                    Page 1 of 5                                              Borrower's Initials: KF


                                                                       Exhibit "P-6"                                                                                          005
                       Case 2:21-cv-04170-BMS Document 1-1 Filed 09/22/21 Page 34 of 37
and that such amounts are non-refundable. BORROWER further agrees to reimburse LENDER upon its request for any costs incurred by LENDER in
enforcing its rights against the Collateral.
4. Interest Rate. Interest under this Agreement will be calculated on a simple interest basis commencing on the Funding Date and shall accrue at a daily
rate of 1.665 of 156.00 % multiplied by the unpaid principal balance (the Principal less the amount the Principal has been reduced by payments) for each day
that any amount remains due to LENDER. Interest is computed on the basis of the number of days actually elapsed.
5. Payments. BORROWER agrees to pay LENDER interest and principal in accordance with the Payment Schedule shown above. LENDER will apply all
payments on the date received by LENDER in the following order: (I) unpaid costs and expenses which you have agreed to pay LENDER pursuant to this
Agreement; (2) accrued but unpaid interest; and (3) unpaid principal balance. Payments made in addition to regularly scheduled payments will be applied in the
same manner. LENDER will not accept an Electronic Payment as your final payment or payoff on your loan, as set forth in your Payment Schedule above, if
this loan is secured by a Motor Vehicle.
6. Scheduled Payment Amounts. The Payment Schedule shown above assumes that all of your payments are made on time. If you are late making a
payment, the amount of your last scheduled payment may be greater than disclosed in the Payment Schedule. Likewise, if you are late making a payment, the
Finance Charge and Total of Payments may be greater than disclosed above. Interest continues to accrue on the unpaid principal balance, regardless of whether
you have been charged a delinquency charge because of a delinquent payment. BORROWER, without penalty, has the right to ﬁrlly prepay the unpaid
principal balance at any time prior to maturity and will not be obligated to pay any unaccrued interest. Any prepayment (except for a prepayment in full) will
not relieve BORROWER’S obligation to make any later scheduled payment, according to the Payment Schedule above, until all sums due are fully repaid.
7. Late Charge. Any required payment not paid in full within ten (10) days of the due date will be assessed a delinquency charge not to exceed ﬁve percent
(5%) of the unpaid amount of the payment.
8. BORROWER’s Representations and Warranties. BORROWER represents and warrants that BORROWER has the right to enter into this Agreement,
is at least $8 years of age, and understands and acknowledges that no credit insurance is offered with this Agreement. If the Motor Vehicle box is checked
under the Collateral Information box, BORROWER further represents and warrants that the Vehicle is not stolen, has no liens or encumbrances against it, that
BORROWER will not attempt to transfer any interest in the Vehicle until all obligations under this Agreement have been paid in full, and that the Vehicle will
not be moved from the BORROWER’S state of residence. BORROWER further warrants that until such time as all amounts due hereunder are fully repaid,
BORROWER will not attempt to seek a duplicate title to the Vehicle.
9. Event of Default. The following constitute events of default under this Agreement: (a) BORROWER does not pay the full amount of any required
payment when due; (b) BORROWER fails to keep any of BORROWER’S promises under this Agreement; or (c) any representation or information given to the
LENDER by BORROWER is false or misleading.
10. LENDER’s Rights in the Event of Default. Upon the occurrence of any event of default, the LENDER may at its option, do any one or more of the
following: (a) declare the whole outstanding balance due under this Agreement due and payable at once and proceed to collect it; (b) foreclose upon its lien and
liquidate any Collateral securing this Agreement according to law, including by using self—help repossession (if applicable); (c) exercise all other rights, powers
and remedies given by law; and (d) recover from BORROWER all charges, costs and expenses, including all collection costs and reasonable attorney’s fees
incurred or paid by the LENDER in exercising any right, power or remedy provided by this Agreement or by law. In the event of default, the interest shall
continue to accrue until the unpaid principal balance, together with all accrued and unpaid interest and costs, is fully repaid.
l l . Notices. Any notice that LENDER is required to provide under this Agreement or applicable iew will be declared reasonable if sent to BORROWER at
the address set forth above via regular mail. Each notice will become effective three (3) days after it is mailed. It is BORROWER’S responsibility to keep the
listed address current and provide LENDER with written notice of any change in address.
12. General. (a) BORROWER will deposit a duplicate set of keys to the Motor Vehicle upon execution of this Agreement (if applicable); (b) BORROWER
agrees to pay LENDER a returned check fee of $25.00 each time a check given to LENDER by BORROWER is not honored for any reason; (c) BORROWER
shall bear the entire risk of loss or damage to the Vehicle while it is in BORROWER’s possession and agrees to indemnify and hold LENDER harmless from
any and all claims for property damages or personal injuries arising from the operation of the Vehicle, including but not limited to, all judgments, attorney’s
fees, court costs and any incurred expenses (if applicable); (d) if more than one BORROWER executes this Agreement, each BORROWER will be jointly and
severally liable; (e) time is of the essence of this Agreement; and (i) this Agreement constitutes the entire Agreement between the parties and no other
agreements, representations or warranties other than those stated herein shall be binding unless reduced in writing and signed by both parties.
13. Governing Law; Enforceabiiity. This Agreement shall be construed, applied and governed by the laws of the State of Delaware. The unenforceability
or invalidity of any portion of this Agreement shall not render unenforceable or invalid the remaining portions hereof.
l4. ARBITRATION PROVISION.                This Arbitration Provision describes when and how a Claim (as deﬁned below) may be arbitrated. Arbitration is a
method of resolving disputes in front of one or more neutral persons, instead of having a trial in court in front of a judge and/or jury. It can be a quicker and
simpler way to resolve disputes.

READ THIS ARBITRATION PROVISION CAREFULLY AS IT WILL HAVE A SUBSTANTIAL IMPACT ON HOW LEGAL CLAIMS YOU
AND WE HAVE AGAINST EACH OTHER ARE RESOLVED.
YOU HAVE THE RIGHT TO REJECT (NOT B E BOUND BY) THIS ARBITRATION PROVISION AS DESCRIBED BELOW. If you d o not reject
this Arbitration Provision a n d a Claim is arbitratcd, neither you n o r we will have the right to: (1) have a court o r a jury decide the Claim; (2} engage
in informationugathering (discovery) to the same extent as in caurt; (3} participate in a class action, private attorney general or other representative
action in court or in arbitration; o r (4) join or consolidate a Claim with claims of any other person. The right to appeal is more limited in arbitration
than in court and other rights in court may be unavailable o r limited in arbitration.
(n) Special Deﬁnitions: As solely used in the Arbitration Provision, the terms “we,” “us” and “our” mean (i) the Lender (listed on the top of the ﬁrst page of
this Agreement), its parent companies, wholly or majority-owned subsidiaries, afﬁliates, successors, assigns and any o f their employees, ofﬁcers and directors,
and (ii) any third party providing any goods and services in connection with the origination, servicing o r collection of this Agreement. “You” means Borrower
(including any Co-Borrower) listed on the top of the first page of this Agreement.
(b) Your Right to Reject: If you don’t w a n t this Arbitration Provision to apply, you may reject it by mailing us a written rejection notice which
contains all of the following: (i) the date of this Agreement and a description of the Motor Vehicle (if applicable); (ii) the names, addresses a n d phone
numbers of each of the Borrowers for this Agreement; a n d (iii) a statement that all of the Borrowers reject the Arbitration Provision of this
Agreement.              The      rejection      notice     must       be     sent    by      certiﬁed        mail,      return      receipt   requested,      to
                      Delaware Title Loans. Inc.                          at: no. Box 500785 Atlanta, Georgia, 31150, Attn: Arbitration Rejection Notice.
A rejection notice is only effective if i t is signed by all Borrowers and Co-Borrowers and if we receive it within thirty (30) days after the date of this
Agreement. If you reject this Arbitration Provision, that will not affect any other provision of this Agreement o r the status of your Agreement. If you
don’t reject this Arbitration Provision, it wiil be effective as of the date of the Agreement. If you reject this Arbitration Provision, that will not

                                                                        Page 2 of 5                                       Borrower's Initials: KlF.



                                                             Exhibit "P-6"                                                                              006
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constitute a rejection of any prior arbitration provision between you and us. Even if you previously rejected an arbitration provision between you and
us, you will be bound by this Arbitration Provision unless you reject it.
(c) Federal Arbitration Act: The parties agree and acknowledge that this Arbitration Provision and this Agreement evidence a transaction involving interstate
commerce and, therefore, a federal statute, the Federal Arbitration Act (Title 9 of the United States Code) (“FAA”), shall govern the interpretation and
enforcement of this Arbitration Provision and proceedings pursuant thereto. To the extent state law is applicable under and is not preempted by the FAA, the
law of the state applicable under the paragraph of this Agreement titled “Governing Law” shall apply.
((1) What Claims Are Covered: “Claim” means any claim, dispute or controversy between you and us, whether preexisting, present or ﬁlture, that in any way
arises from or relates to this Agreement or the Motor Vehicle securing this Agreement (if applicable), any prior loan or loans you obtained from us, the events
leading up to the Agreement or any prior loan (for example, any disclosures, advertisements, promotions or oral or written statements made by us), any product
or service provided by us or third parties in connection with the Agreement, the collection of amounts due and the manner of collection, our use or disclosure
of information about you or your loan(s), or the relationships resulting ﬁ'om any of the foregoing. “Claim” has the broadest possible meaning, and includes
initial claims, counterclaims, cross-claims and third-party claims, federal, state, local and administrative claims and claims which arose before the effective
date of this Arbitration Provision. It includes disputes based upon contract, tort, consumer rights, fraud and other intentional torts, statute, regulation,
ordinance, common law and equity and claims for monetary damages and injunctive or declaratory relief.
However, “Claim” does not include: (i) any dispute or controversy about the validity, enforceability, coverage or scope o f this Arbitration Provision or any part
thereof (including, without limitation, the deﬁnition of “Claim,” the Class Action Waiver in subparagraph (h) below; subparts (A) and (B) of subparagraph (n)
below titled “Severability and Survival” and/or this sentence); all such controversies are for a court and not an arbitrator to decide. But any dispute or
controversy that concerns the validity or enforceability o f the Agreement as a whole is for the arbitrator, not a court, to decide; (ii) the exercising of any self-
help or non-judicial remedies by you or us, for example, our right to enforce our security interest and to obtain possession of the Collateral by using self-help
(if applicable; (iii) any individual action in court by one party to prevent the other party from using a self-help remedy, as opposed to any related request for
damages or monetary relief of any kind, which is a “Claim”; or (iv) any individual action brought by you or us in small claims court, or your State’s equivalent
court. However, if that small claim action is transferred, removed or appealed to a different court, you or we then have the right to choose arbitration.
Moreover, this Arbitration Provision will not apply to any Claims that are the subject of a class action ﬁled in court that is pending as o f the effective date o f
this Arbitration Provision in which you are alleged to be a member of the putative class for as long as such class action is pending. In addition to offering loans
such as represented by this Agreement, Lender from time to time may offer other loans and/or products. i f you are also a party to any other loan agreement of
any type with Lender, the arbitration provision in that loan agreement shall apply to that agreement.
(c) Electing; Arbitration; Starting an Arbitration Proceeding: Either you or we may elect to arbitrate a Claim by giving the other party written notice of the
intent to arbitrate the Claim or by ﬁling a motion to compel arbitration of the Claim. This notice may be given before or after a lawsuit has been ﬁled
concerning the Claim or with respect to other Claims brought later in the lawsuit, and it may be given by papers filed in the lawsuit. Each of the arbitration
administrators listed below has speciﬁc rules for starting an arbitration proceeding. Regardless of who elected arbitration or how arbitration was elected, the
party asserting the Claim (i.e., the party seeking money damages or other relief from a court or an arbitrator) is responsible for starting the arbitration
proceeding. Thus, if you assert a Claim against us in court, and we elect to arbitrate that Claim by ﬁling a motion to compel arbitration which is granted by the
court, you will be responsible for starting the arbitration proceeding. Even if all parties have opted to litigate a Claim in court, you or we may elect arbitration
with respect to any Claim made by a new party or any Claim later asserted by a party in that or any related or unrelated lawsuit (including a Claim initially
asserted on an individual basis but modified to be asserted on a class, representative or multi-party basis). Nothing in that litigation shall constitute a waiver of
any rights under this Arbitration Provision.
(1) Choosing the Administrator: The arbitration administrator will be: American Arbitration Association (“AAA”), 1633 Broadway, 10Ill Floor, New York,
N Y 10019, www.cdrorg 1~800~778~7879; o r JAMS, 620 Eight Avenue, 34‘" Floor, New York, N Y 1 0 0 1 8 , mvw.'1amsadr.com,                LEGO-3526267. You may
contact these organizations directly if you have any questions about the way they conduct arbitrations or want to obtain a copy of their rules and forms (which
are also available on their websites). However, if the AAA and JAMS are unable or unwilling to serve as administrator, the parties may agree upon another
administrator or, if they are unable to agree, a court Shall select the administrator or arbitrator. No company may serve as administrator, without the consent of
all parties, if it adopts or has in place any formal or informal policy that is inconsistent with and purports to override the terms of the Class Action Waiver in
this Arbitration Provision.
(g) 7712 Arbitrator: A single arbitrator will be appointed by the administrator and must be a practicing attorney who is a member o f the Delaware State Bar with
ten or more years of experience or a retired Delaware state or federal court judge.
(h) Class Action Waiver: Notwithstanding any other provision of this Agreement, if either you or w e elect to arbitrate a Claim, neither you nor we
will have the right: (a) to participate in a class action, private attorney general action or other representative action in court or in arbitration, either
as a class representative or class member; or (b) to join or consolidate Claims with claims of any other persons (thus, Claims brought by or against
one Borrower (or Co-Borrower) may not be joined or consolidated in the arbitration with Claims brought by or against any other borrower who
obtained a different agreement). No arbitrator shall have authority to conduct any arbitration in violation of this provision or to issue any relief that
applies to any person or entity other than you andlor us individually. (Provided, however, that the Class Action Waiver does not apply to any lawsuit
or administrative proceeding ﬁled against us by a state or federal government agency even when such agency is seeking relief on behalf of a class of
borrowers including you. This means that w e will not have the right to compel arbitration of any claim brought by such an agency).
(i) Location of Arbitration: Any arbitration hearing that you attend must take place within the State of Delaware in the county where you signed the
Agreement.
(j) Cost 02 Arbitration: At your written request, we will pay all ﬁling, hearing and/or other fees charged by the administrator and arbitrator to you for Claim(s)
asserted by you in an individual arbitration after you have paid an amount equivalent to the fee, if any, for filing such Claim(s) in state or federal court
(whichever is less) in thejudicial district in which you reside. (If you have already paid a ﬁling fee for asserting the Claim(s) in court, you will not be required
to pay that amount again). In addition, the administrator may have a procedure whereby you can seek a waiver of fees charged to you by the administrator and
arbitrator. We will always pay any fees or expenses that we are required to pay by law or the administrator‘s rules or that we are required to pay for this
Arbitration Provision to be enforced. We will not ask you to pay or reimburse us for any fees we pay the Administrator.
(k) What Law the Arbitrator will A2212: The arbitrator will not be bound by judicial rules o f procedure and evidence that would apply in a court, nor by state
or local laws that relate to arbitration proceedings. The arbitrator will apply the same statutes o f limitation and privileges that a court would apply if the matter
were pending in court. (A “statute of limitations” is the time period allowed by law for initiating a lawsuit or other court action). in determining liability or
awarding damages or other relief, the arbitrator will follow the applicable substantive law, consistent with the FAA, that would apply if the matter had been
brought in court. The arbitrator may award any damages or other relief or remedies that would apply under applicable law to an individual action brought in
court, including, without limitation, punitive damages (which shall be governed by the Constitutional standards employed by the courts) and injunctive,
equitable and declaratory relief (but only in favor of the individual party seeking relief and only to the extent necessary to provide relief warranted by that
party’s individual claim). The arbitrator will have the authority to award fees and costs of attorneys, witnesses andexperts to the extent permitted by the
                                                                         Page 3 of 5                                         Borrower's Initials: Kl E


                                                              Exhibit "P-6"                                                                                007
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Agreement, the administrator’s rules or applicable law. However, with respect to Claim(s) asserted by you in an individual arbitration, we will pay your
reasonable attorney, witness and expert fees and costs if and to the extent you prevail, if applicable law requires us to or if we must bear such fees and costs in
order for this Arbitration Provision to be enforced.
(I) Right to Discovery: In addition to the parties’ rights to obtain discovery pursuant to the arbitration rules of the administrator, either party may submit a
written request to the arbitrator to expand the scope of discovery nonnally allowable under the arbitration rules of the administrator. The arbitrator shall have
discretion to grant or deny that request.
(In) Arbitration Result and Right a t Appeal: At the timely request of either party, the arbitrator shall write a brief explanation of the grounds for the decision.
Judgment upon the award given by the arbitrator may be entered in any court having jurisdiction. The arbitrator’s decision is final and binding, except for any
right of appeal provided by the FAA. However, if the amount of the Claim exceeds $50,000, any party can, within 14 days after the entry of the award by the
arbitrator, appeal the award to a three-arbitrator panel administered by the administrator. The panel shall reconsider anew any aspect of the initial award
requested by the appealing party. The decision of the panel shall be by majority vote. Reference in this Arbitration Provision to “the arbitrator” shall mean the
panel if an appeal of the arbitrator’s decision has been taken. The costs of such an appeal will be borne in accordance with subparagraph (i) above, captioned
“Costs of Arbitration.” Any final decision of the appeal panel is subject to judicial review only as provided under the FAA. No arbitration award involving the
parties will have any preclusive effect as to issues or claims in any dispute involving anyone who is not a party to the arbitration, nor will an arbitration award
in prior disputes involving other parties have preclusive effect in an arbitration between the parties to this Arbitration Provision.
(n) mgr-ability gag Eyrvivnl: If any part of this Arbitration Provision is deemed or found to be unenforceable for any reason, the remainder shall be
enforceable, except that:
     (A) The parties acknowledge that the Class Action Waiver is material and essential to the arbitration of any disputes between them and is non—severable
from this Arbitration Provision. If the Class Action Waiver is limited, voided or found unenforceable, then this Arbitration Provision (except for this sentence)
shall be null and void with respect to such proceeding, subject to the right to appeal the limitation or invalidation of the Class Action Waiver. The parties
acknowledge and agree that under no circumstances will a class action be arbitrated; and

     (B) if a Claim is brought seeking pubiic injunctive relief and a court determines that the restrictions in the Class Action Waiver or elsewhere in this
Arbitration Provision prohibiting the arbitrator from awarding relief on behalf of third parties are unenforceable with respect to such Claim (and that
determination becomes ﬁnal after all appeals have been exhausted), the Claim for public injunctive relief will be determined in court and any individual Claims
seeking monetary relief will be arbitrated. In such a case the parties will request that the court stay the Claim for public injunctive relief until the arbitration
award pertaining to individual relief has been entered in court. In no event will a Claim for public injunctive relief be arbitrated.
This Arbitration Provision shall survive the repayment of all amounts owed under this Agreement, any legal proceeding, or any use of a self-help remedy by us
to collect a debt owed by you to us, and any bankruptcy by you, to the extent consistent with applicable bankruptcy law.
(0) Conﬂicts: Arbitration of a Claim must comply with this Arbitration Provision. In the event of a conﬂict between the provisions of this Arbitration
Provision, on the one hand, and any applicable rules of the AAA or JAMS or other administrator used or any other terms of this Agreement, on the other hand,
the provisions of this Arbitration Provision shall control. This Arbitration Provision supersedes any other arbitration provision between the parties that may
otherwise be applicable.
(p) Notice and Cute Specie! Payment: Prior to initiating a Ciaim, you may send us a written Dispute Claim Notice. In order for a Dispute Claim Notice to be
valid and effective, it must: (a) state your name, address and Contract Number; (b) be signed by you; (c) describe the basis of your Claim and the amount you
would accept to resolve the Claim; (6) state that you are exercising your rights under the “Notice and Cure” paragraph of the Arbitration Provision; and (e) be
sent to us by certified mail, return receipt requested, at                        Delaware Title Loans, Inc.                          , PO. Box 500785 Atlanta,
Georgia, 31150, Attn: Dispute Claim Notice. This is the only method by which you can submit a Dispute Claim Notice. You must give us a reasonable
opportunity, not less than 30 days, to resolve the Claim. If, and only if, (i) you submit a Dispute Claim Notice in accordance with this paragraph on your own
behalf (and not on behalf of any other party); (ii) you cooperate with us by promptly providing the information we reasonably request; (iii) we refuse to provide
you with the relief you request before an arbitrator is appointed; and (iv) the matter then proceeds to arbitration and the arbitrator subsequently determines that
you were entitled to such relief (or greater relief), you will be entitled to a minimum award of at least $7,500 (not including any arbitration fees and attorneys‘
fees and costs to which you will also be entitled). We encourage you to address all Claims you have in a single Dispute Claim Notice andior a single
arbitration. Accordingly, this $7,500 minimum award is a single award that applies to all Claims you have asserted or could have asserted in the arbitration,
and multiple awards of $7,500 are not contemplated.
(q) U.S. Constitutional Issues: To the extent that any Claim or defense to any Claim requires a determination under the United States Constitution (a
“Constitutional Determination”), such Constitutional Determination must be decided by a court, not an arbitrator. You and we agree that: (A) the arbitration of
such Claim will be stayed until such Constitutional Determination is ﬁnally resolved by a court judgment that is not or is no longer subject to appeal; and (B)
the arbitrator will render his or her award in accordance with such Constitutional Determination.

   DO NOT SIGN THIS AGREEMENT BEFORE YOU HAVE READ IT, INCLUDING THE ARBITRATION PROVISION, OR IF IT
   CONTAINS ANY BLANK SPACES. YOU WILL RECEIVE A COMPLETED COPY OF THIS AGREEMENT.




                                                                         Page 4 of 5                                        Borrower's Initials: KF


                                                             Exhibit "P-6"                                                                               008
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IN WITNESS WHEREOF, the parties have hereunto set forth their hands and seals on the date stated above.


           by KEITH FENWJCK
                                                                                             LENDER
                                                                                             7"— f            f    z
Co-Borrower                                                                                  by: Its Authorized Representative



      Authorization to Deliver Advertisements o r Telemarketing Messages Using Text Messages, E-Mails & Other Electronic Communications

   You hereby authorize us to deliver or cause to be delivered to you advertisements or telemarketing messages using an automatic telephone dialing
   system or an artiﬁcial or prerecorded voice. You hereby further authorize us to deliver these messages via e-mails, text messages and other electronic
   communications to the telephone number and e-mail listed below. To receive such communications you must provide a valid e-mait address, telephone
   number or other contact information for an applicable communications device. You should be aware that your wireless provider or other
   communications carrier may charge you applicable text messaging rates for each text message or other electronic communication that is sent to you or
   received by you. You represent to us that you are the owner or an authorized user of the wireless or other communications device for which you have
   provided an e-mail address, a telephone number o r other contact information. You understand that receipt of this loan is not conditioned upon your
   consent to this authorization.

   -Your “Hair address: ketth.fenwick69.my@gmail.com

   ~Your mobile phone number: (257) 348'9744

   -Your Signature:                                                              -Date:     09/ 05/ 2020

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                                                           Exhibit "P-6"                                                                           009
